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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                           CRIMINAL ACTION

    VERSUS                                                      NO. 12-138

    SONNY ALLEN                                            SECTION “R” (1)



                         ORDER AND REASONS


       Sonny Allen moves pro se for compassionate release.1                The

Government opposes the motion.2 Because Allen has not shown that he

meets the requirements for compassionate release, the Court denies the

motion.



I.     BACKGROUND

       On November 6, 2014, a jury found Sonny Allen guilty as to five counts

of a redacted superseding indictment.3 These charges included one count of

conspiracy to distribute and to possess with the intent to distribute 280

grams or more of cocaine base in violation of 21 U.S.C. § 846,4 and four




1      R. Doc. 562.
2      R. Doc. 564.
3      R. Doc. 219.
4      R. Doc. 224 at 1-2 (Count 1).
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counts for distributing a quantity of cocaine base in violation of 21 U.S.C.

§ 841(a)(1).5 The jury found Allen not guilty6 as to Count of 2 of the redacted

superseding indictment, which alleged that defendant conspired to possess

firearms in furtherance of drug trafficking crimes in violation of 18 U.S.C.

§ 924(0).7   According to defendant’s presentence investigation report

(“PSR”),8 which the Court adopted at sentencing,9 Allen and several co-

defendants operated a joint enterprise selling cocaine base on Simon Bolivar

Avenue in New Orleans, Louisiana.10

      On August 12, 2015, the Court sentenced Allen to 240 months

imprisonment, to be followed by ten years of supervised release.11 Allen is

incarcerated at Oakdale I FCI in Louisiana.12 He has a projected release date

of July 31, 2030.13




5     Id. at 6-7 (Counts 11, 12, 13, 14).
6     R. Doc. 219.
7     R. Doc. 224 at 2.
8     R. Doc. 350.
9     R. Doc. 409 at 1. The Court adopted the PSR without making any
changes to the factual findings it contained. Id.
10    R. Doc. 350 at 13, ¶ 64.
11    R. Doc. 408 at 1, 3. The term of supervised release consists of 10 years
as to Count 1, and 6 years as to Counts 11, 12, 13, and 14, with all terms to be
served concurrently. Id. at 3.
12    See     Federal     Bureau       of  Prisons,     Find     an     Inmate,
https://www.bop.gov/inmateloc/ (last visited May 20, 2021).
13    Id.
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II.   DISCUSSION

      A.    Exhaustion

      Before a federal court will assess the merits of a motion for

compassionate release, defendants must show that they have “fully

exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant's behalf,” or that “30 days [have

passed] from the receipt of such a request by the warden of the defendant's

facility.” 18 U.S.C. § 3582. The Fifth Circuit has clarified that “all requests

for compassionate release must be presented to the Bureau of Prisons before

they are litigated in the federal courts.” United States v. Franco, 973 F.3d

465, 468 (5th Cir. 2020), cert. denied, No. 20-5997, 2020 WL 7132458 (U.S.

Dec. 7, 2020). The defendant bears the burden of demonstrating exhaustion.

See, e.g., United States v. Rodriguez, No. 15-198, 2020 WL 5369400, at *2

(E.D. La. Sept. 8, 2020); United States v. Murray, No. 19-041, 2020 WL

4000858, at *2 (E.D. La. July 15, 2020); United States v. Castro, No. 15-309,

2020 WL 3076667, at *2 (E.D. La. June 10, 2020).

      In addition, the Fifth Circuit has held that the exhaustion requirement

is a “mandatory claim-processing rule.” Franco, 973 F.3d at 468. Like other

mandatory-claim processing rules, the Court must enforce the rule if a party

properly raises the issue. See id.; see also Pierre-Paul v. Barr, 930 F.3d 684,


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692 (5th Cir. 2019) (“A claim-processing rule is mandatory to the extent a

court must enforce the rule if a party properly raises it.”). The Government

concedes exhaustion in this case.14

     Allen represents that, on December 9, 2020, and on January 9, 2021,

he submitted requests for compassionate release to Warden Ma’at at FCI

Oakdale.15 Additionally, the Government states that the BOP has confirmed

that Allen exhausted his administrative remedies.16 Because Allen presented

his request for compassionate release to the BOP, and because the

Government concedes exhaustion, the Court proceeds to the merits of Allen’s

motion.

     B.    Extraordinary and Compelling Reasons

     Courts may grant compassionate release when “extraordinary and

compelling reasons warrant such a reduction,” and “such a reduction is

consistent with applicable policy statements issued by the Sentencing

Commission.”     18 U.S.C. § 3582(c)(1)(A)(i)-(ii).   The relevant policy

statement is set out in § 1B1.13 of the United States Sentencing Guidelines.

The commentary to § 1B1.13 describes four “extraordinary and compelling

reasons” that could warrant a reduced sentence: (1) medical conditions, (2)



14   R. Doc. 564 at 2.
15   R. Doc. 562 at 1.
16   R. Doc. 564 at 2.
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age—starting at age 65, (3) family circumstances, and (4) “[o]ther [r]easons.”

U.S.S.G. § 1B1.13 cmt. n.1(A)-(D). The commentary further specifies that, to

be sufficiently serious to warrant release, a medical condition must be a

“terminal illness,” or a condition that “substantially diminishes the ability of

the defendant to provide self-care within the environment of a correctional

facility and from which he or she is not expected to recover.” U.S.S.G.

§ 1B1.13 cmt. n.1(A).

      As the Fifth Circuit recognized in United States v. Thompson, “in some

exceptional cases,” courts “have granted compassionate release where the

defendant has demonstrated an increased risk of serious illness if he or she

were to contract COVID.” 984 F.3d 431, 434 (5th Cir. 2021). But there is no

“unanimous” agreement in the courts that “every high-risk inmate with

preexisting conditions” has demonstrated an extraordinary and compelling

reason. Id. The Thompson court affirmed a denial of compassionate release

for a defendant who suffered from hypertension, high cholesterol, and had

previously suffered a stroke. Id. at 1.

      Here, Allen does not claim that he suffers from a medical condition that

increases his risk of severe illness from COVID-19. Instead, the heart of

Allen’s claim is a generalized fear of COVID-19. But generalized fear of the

virus does not rise to an “extraordinary and compelling reason” justifying


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release. See, e.g., Thompson, 984 F.3d at 435 (“Fear of COVID doesn't

automatically entitled a prisoner to release.”); United States v. Raia, 954

F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release . . . .”); United States v. Marco

Perez-Serrano, No. 13-2, 2020 WL 2754914, at *2 (S.D. Miss. May 27, 2020)

(“A generalized fear of contracting COVID-19 does not justify compassionate

release.”). Moreover, FCI Oakdale I reports zero positive COVID-19 cases

among its inmate population.17 The Court finds that Allen has not shown

that an extraordinary and compelling reason merits compassionate release.

     C.    Section 3553(a) Factors

     The Court also finds that the Section 3553(a) factors do not support a

reduction in Allen’s sentence. When determining whether to modify a

sentence under Section 3582(c)(1)(A), the Court must “consider[] the factors

set forth in section 3553(a).” See 18 U.S.C. § 3582(c)(1)(A). Here, both the

“seriousness of the offense” and “the history and characteristics of the

defendant” militate against early release. 18 U.S.C. § 3553(a). Allen was

convicted of serious drug offenses involving large quantities of narcotics.18



17    Federal      Bureau        of      Prisons, COVID-19          Update,
https://www.bop.gov/coronavirus/ (last visited May 20, 2021).
18    See R. Doc. 224 at 1-2, R. Doc. 408 at 1.
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Further, as reflected in Allen’s presentence investigation report, Allen has a

significant criminal history, with convictions for drug and gun offenses

before he was charged in this matter.19 The Court finds that the Section

3553(a) factors do not weigh in favor of compassionate release.

      D. Danger to the Community

      When ruling on a motion for compassionate release, the Court must

assess whether the defendant is “a danger to the safety of any other person

or to the community.” U.S.S.G. § 1B1.13(2). In making this determination,

the Court looks to 18 U.S.C. § 3142(g). Id. The factors set out in § 3142(g) are

similar to § 3553(a), and include the “nature and circumstances of the

offense” and the “the history and characteristics” of the defendant. Id. at

§ 3142(g)(1)-(4). As noted above, these factors weigh against compassionate

release. The Court finds that the nature of Allen’s drug offense, as well as

Allen’s criminal history, militate against release.

III. CONCLUSION

      The Court DENIES defendant’s motion for compassionate release.

            New Orleans, Louisiana, this 25th day of May, 2021.


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                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE

19    R. Doc. 395 at 16-18.
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